Case 2:05-cv-02234-.]DB-dkv Document 11 Filed 07/19/05 Page 1 of 2 Page|D 18

Fu£n BY', ..__ o.e.
IN THE UNITED sTATEs DISTRICT COURT ;
FOR THE WESTERN DISTRICT 0F TENNESSEE H", |2
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CLEHK, us assert coast
GERALD WHEALTON’ wm 3 z trespass
Piaimiff,
V' No. 05-2234-13/\/

STEVE HUDGINS,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Leave to Conduct Lirnited Discovery in Aid
of Motion to Dismiss filed on July 18, 2005.

This motion is referred to the United States Magistrate Judge for determinationl Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timer assign as error a defect in the magistrate judge’s order Will
constitute a waiver of that objection § Rule 72(a), Federal Rules of Civil Procedure.

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IT rs so oRI)ERED this l°l day of Juiy, 2005.

 

J. DANIEL BREEN
NIT D STATES DISTRICT JUDGE

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Honorable .1. Breen
US DISTRICT COURT

